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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

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MAMBU BAYOH,
Plaintiff, : 18¢ev5820 (DLC)
-v- : ORDER
AFROPUNK LLC, MATTHEW MORGAN and :
JOCELYN COOPER, individually, : USDC SDNY
: DOCUMENT .
Defendants. + ELECTRONICALLY FILED

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paTE Fiep: 10/15/20.

 

 

 

 

 

 

DENISE COTE, District Judge:

On October 15, 2020, the defendants sent material
concerning the above-captioned case to this Court’s Chambers
email inbox. This material will not be reviewed. Parties
seeking to file redacted or sealed material are directed to the
procedures set forth in Section 6 of the S.D.N.Y¥. Electronic
Case Filing Rules and Instructions, and Section 7 of this
Court’s Individual Practices. Accordingly, it is hereby

ORDERED that the defendants shall promptly file on ECF the

material submitted to this Court’s Chambers email inbox and make

 
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any appropriate request through ECF to file such information
under seal or in redacted form.

Dated: New York, New York
October 15, 2020

thaca LN,
dpNTSe COE

United States District Judge

 
